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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                       §
EVEREST REAL ESTATE                          §               CASE NO. 20-34077
INVESTMENTS LLP                              §
       DEBTOR IN POSSESSION                  §               CHAPTER 11

                               ORDER GRANTING
             APPLICATION BY DEBTOR TO EMPLOY MOUERHUSTON PLLC
               FOR A SPECIAL PURPOSE PURSUANT TO 11 U.S.C. § 327(e)

        IN HOUSTON, TEXAS, came on for consideration the Application (“Application”) to

Employ MouerHuston PLLC for a Special Purpose Pursuant to 11 U.S.C. § 327(e) filed by Everest

Real Estate Investments LLP (“Everest”). The Court is of the opinion that the requested relief is

in the best interest of the estate and its creditors, that MouerHuston LLP with Allison Miller-

Mouer, as attorney in charge, (the “Law Firm”) represents no interest adverse to Everest or the

estate on the matters upon which it is to be engaged and that the employment of the Law Firm

should be approved. Accordingly, it is

        ORDERED that the Application is approved, and Everest is authorized to employ the Law

Firm as special counsel for the following Special Purpose:

        As special counsel in the lawsuit styled Cause No. 2019-17007, Lisa Ayers as
        Representative of the Estate of Ronald Bruce Long and Victoria Long v. Everest Real
        Estate Investments, LLP, Everest Real Estate Investments LLP d/b/a ICON Hospital LLP,
        Icon Hospital LLP and Davita, Inc. in the 189th Judicial District, Harris County, Texas
        (the “Lawsuit) to (i) manage and respond to discovery requests, (ii) participate and attend
        status conferences and hearings, (iii) respond to orders and requests from the Court, and
        (iv) prepare pleadings and motions, as needed. Engaging in this work is required for the
        Lawsuit to proceed and to protect the Debtor’s interests;

and it is
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       ORDERED that payment to the Law Firm for service rendered and reimbursement of costs

and expenses will be made only after notice and opportunity for hearing on an application for

compensation.

DATED: ___________, 2021                  By:_______________________________
                                          CHRIS LOPEZ
                                          UNITED STATES BANKRUPTCY JUDGE
